         Case 3:14-cr-00112-B          Document 135         Filed 07/22/14        Page 1 of 1      PageID 401




UNITED STATES OF AMERICA

v.

STEVEN WAYNE JERNIGAN (8)


                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

        STEVEN WAYNE JERNIGAN (8), by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 2 of the
Indictment After cautioning and examining STEVEN WAYNE JERNIGAN (8) under oath concerning each of the
subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s)
charged is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that STEVEN WAYNE JERNIGAN (8) be adjudged guilty of
21U.S.C. § 841(a)(l) Possession of a Controlled Substance with Intent to Distribute and have sentence imposed
accordingly. After being found guilty of the offense by the district judge,

0       The defendant is currently in custody and should be ordered to remain in custody.

/ T h e defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
     convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
     if released.

                The Government does not oppose release.
                The defendant has been compliant with the current conditions of release.
                I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other          community if released.

Date:   July 22, 2014




                                                        NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
